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                         DODGE CITY COMMUNITY COLLEGE
                        BEFORE THE JUDICIAL HEARING BOARD

In the Matter of
LYLE VANNAHMEN                                                 DCCC Case No. 16-055
in Disciplinary Proceedings


                         RESPONDENT’S NOTICE OF APPEAL

       COMES NOW Respondent Lyle VanNahmen by counsel Peter J. Antosh and appeals the
May 2, 2017 final disposition of the conduct review hearing that took place on Tuesday April 25th,
2017. Respondent notes that this notice of appeal is filed more than five (5) business days after May
2, 2017; however, counsel for Respondent first received the May 2, 2017 disposition letter on June
6, 2017.
       Respondent suggests that the sanction of four years’ suspension is excessively severe.
       Respondent suggests procedural irregularities in the original hearing, to wit: lack of an
impartial tribunal, lack of any record of findings of facts, bring into question the original findings.
       Respondent requests that the final disposition be completely reversed and the case against
Mr. VanNahmen be immediately dismissed.
                                                       Respectfully Submitted,

                                                       GARCIA & ANTOSH, LLP
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                                                 By: ____________________________________
                                                     Peter J. Antosh #21334
                                                       Attorneys for Respondent


                                 CERTIFICATE OF SERVICE

      I hereby certify that on the 9th day of June 2016 I emailed the above and foregoing notice to
Ms. Beverly Temaat and Mr. Glenn I. Kerbs; not to DCCC President Harold Nolte, per prior
agreement that normal appeal procedure (president’s review) would not be appropriate here.



                                                       ____________________________________
                                                       Peter J. Antosh
